                              Case 20-18036        Doc 129   Filed 06/01/21    Page 1 of 1
Entered: June 1st, 2021
Signed: June 1st, 2021

SO ORDERED




                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                               Greenbelt Division

                    IN RE:                                      |
                                                                |
                    MAHMOUD MUSA ABULHAWA                       |       Case No. 20-18036-TJC
                                                                |       Chapter 13
                                                                |
                                    Debtor                      |

                                               ORDER DISMISSING CASE

                    Upon consideration of the Chapter 13 Trustee's Motion to Dismiss Case pursuant to 11

         U.S.C. § 1307 for cause, the Debtor having had an opportunity to respond, and after any hearing,

         good cause having been shown, it is, by the United States Bankruptcy Court for the District of

         Maryland,

                    ORDERED, that the Chapter 13 Trustee’s Motion to Dismiss is granted and above-

         referenced Chapter 13 case is dismissed.

                    ALL PARTIES ARE HEREBY NOTIFIED that the automatic stay imposed by 11

         U.S.C. § 362(a) is terminated.

         cc:
                    Chapter 13 Trustee
                    Debtor
                    U.S. Trustee
                    All creditors and parties in interest

                                                      END OF ORDER
